
IN RE: Williamson, Baron Dr.; — Defendants); Applying for Supervisory and/or *677Remedial Writ; Parish of 'East Baton Rouge 19th Judicial District Court Div. “D” Number 428,199; to the Court of Appeal, First Circuit, Number CW98 0273
Granted. Judgment of the district court is vacated and set aside for reasons assigned by Judge Shortess in his dissenting opinion in the court of appeal. The clerk of the district court is ordered to give plaintiffs “petition for damages” a new docket number and to randomly re-allot it as a new suit.
CALOGERO, C.J. and JOHNSON and KNOLL, JJ., dissent.
KIMBALL, J. not on panel.
